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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

 CHRISTIAN VENABLE,

                                Plaintiff

 v.

 CITY OF LEWISTON,and                                 Civil Action No: 2:17-cv-473-DBH
 DERRICK ST. LAURENT


                                Defendants

                                STIPULATION OF DISMISSAL

       Pursuant to the telephone conference with the Court held on August 2, 2018, Plaintiff

Christian Venable, Attorney Margot Joly, Receiver of Plaintiff's former attorney's law practice,

and Kasia Park, counsel for the Defendants have conferred regarding the above-captioned matter.

Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties hereby stipulate to the dismissal of the

above-captioned action with prejudice. This dismissal shall be without costs or attorney's fees to

any party.


Dated: August ::;) , 2018                                     Dated: August 3, 2018




 liristian Ven le                                            Edward R. Benjamin, Jr.
Plaintiff, pro se                                             Kasia S. Park
                                                             Attorneysfor Defendants
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                                CERTIFICATE OF SERVICE

        I, Kasia S. Park, hereby certify that on August 24, 2018 I electronically filed the

above Stipulation of Dismissal with the Clerk of Court using the CM/ECF system which

will send notifications of this filing to all parties of record. I also certify that I mailed a

copy via U.S. Mail, postage prepaid to the following:

                                      CHRISTIAN VENABLE
                                   122 SECOND STREET, APT. 3
                                     AUBURN, MAINE 04210
                                          (207) 740-7777


                                        MARGOT JOLY
                                  JOLY AND ASSOCIATES, P.A.
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                                      WILTON, ME 04294




                                                                 /s/ Kasia S. Park
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